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    MIAMI-DADE COUNTY, FLORIDA


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    JOSE M MEJIA VS COMPREHENSIVE HEALTH SERVICES, INC.
    Local Case Number: 2018-034657-CA-01
    Filing Date: 10/11/2018
    State Case Number: 132018CA034657000001
    Case Type: Contract & Indebtedness
    Consolidated Case No.: N/A
    Judicial Section: CA21
    Case Status: OPEN



        Parties                                                           Number of Parties: 2 +




     # Hearing Details                                                    Number of Hearing: 0 +




    1 Dockets                                                             Dockets Retrieved: 8




                                                                                                   EXHIBIT "A"
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                                                Docket        Event
              Number   Date         Book/Page   Entry         Type      Comments

              7        10/30/2018               Service       Event
                                                Returned

              6        10/25/2018               Receipt:      Event     RECEIPT#:3420054 AMT
                                                                        PAID:$10.00 NAME:LEWIS,
                                                                        NATHALY, ESQ REMER &
                                                                        GEROGES-PIERRE, PLLC 44
                                                                        WEST FLAGLER STREE
                                                                        MIAMI FL 33130 COMMENT:
                                                                        ALLOCATION CODE
                                                                        QUANTITY UNIT AMOUNT
                                                                        3139-SUMMONS ISSUE FEE 1
                                                                        $10.00 $10.00 TENDER
                                                                        TYPE:E-FILING ACH

                       10/24/2018               20 Day        Service
                                                Summons
                                                Issued

                       10/24/2018               ESummons      Event     Parties: Comprehensive Health
                                                20 Day                  Services Inc.
                                                Issued

                       10/23/2018               (M) 20 Day    Event
                                                (C)
                                                Summons
                                                (Sub)
                                                Received

              3        10/16/2018               Receipt:      Event     RECEIPT#:3510161 AMT
                                                                        PAID:$401.00
                                                                        NAME:SERRANO, CARLOS D
                                                                        44 WEST FLAGLER STREET
                                                                        SUITE 2200 MIAMI FL 33130
                                                                        COMMENT: ALLOCATION
                                                                        CODE QUANTITY UNIT
                                                                        AMOUNT 3100-CIRCUIT
                                                                        FILING FEE 1 $401.00 $401.00
                                                                        TENDER TYPE:E-FILING ACH
                                                                        TENDER AMT:$

                       10/11/2018               Complaint     Event

              1        10/11/2018               Civil Cover   Event




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     FORM 1.997. CIVIL COVER SHEET

     The civil cover sheet and the information contained in it neither replace nor supplement the filing and service of pleadings
     or other documents as required by law. This form must be filed by the plaintiff or petitioner for the use of the Clerk of
     Court for the purpose of reporting judicial workload data pursuant to section 25.075, Florida Statutes. (See instructions for
     completion.)



         I.       CASE STYLE
                                         IN THE CIRCUIT COURT OF THE ELEVENTH JUDICIAL CIRCUIT,
                                          IN AND FOR MIAMI-DADE COUNTY, FLORIDA




                                                                       Case No.:
                                                                       Judge:
     Jose M Mejia
      Plaintiff
                vs.
     Comprehensive Health Services, Inc.
     Defendant


                  TYPE OF CASE

                                                                                .12   Non-homestead residential foreclosure
               0 Condominium                                                          $250,00 or more
              la Contracts and indebtedness                                      O    Other real property actions $0 - $50,000
               0 Eminent domain                                                  O    Other real property actions $50,001 - $249,999
               El Auto negligence                                                O    Other real property actions $250,000 or more
               O Negligence — other
                  •    Business governance                                      a     Professional malpractice
                   O   Business torts                                                          Malpractice — business
                  D . Environmental/Toxic tort                                          a      Malpractice — medical
                   O   Third party indemnification                                      Q      Malpractice — other professional
                  la   Construction defect                                      O     Other
                   O   Mass tort                                                        O      Antitrust/Trade Regulation
                   O   Negligent security                                               O      Business Transaction
                   O   Nursing home negligence                                          O      Circuit Civil - Not Applicable
                   O   Premises liability — commercial                                  O      Constitutional challenge-statute or
                                                                                               ordinance
                   O   Premises liability — residential
                                                                                        La     Constitutional challenge-proposed
               O Products liability                                                            amendment
               O Real Property/Mortgage foreclosure                                     O      Corporate Trusts
                 la    Commercial foreclosure $0 - $50,000                              O      Discrimination-employment or other
                   O   Commercial foreclosure $50,001 - $249,999                        O      Insurance claims
                   ▪   Commercial foreclosure $250,000 or more                          O      Intellectual property
                   O   Homestead residential foreclosure $0 — 50,000                    O      Libel/Slander
                   O   Homestead residential foreclosure $50,001 -
                                                                                        O      Shareholder derivative action
                       $249,999
                                                                                        O      Securities litigation
                   O Homestead residential foreclosure $250,000 or
                       more                                                             O      Trade secrets
                   ▪   Non-homestead residential foreclosure $0 -                       O      Trust litigation
                       $50,000
                   O Non-homestead residential foreclosure
                       $50,001 - $249,999




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                                                      COMPLEX BUSINESS COURT

             This action is appropriate for assignment to Complex Business Court as delineated and mandated by the
             Administrative Order. Yes 0 No F.Z.


             III.    REMEDIES SOUGHT (check all that apply):
                       2: Monetary;
                       21 Non-monetary declaratory or injunctive relief;
                        ❑ Punitive

             IV.     NUMBER OF CAUSES OF ACTION: (              )
                     (Specify)

                     5

             V.      IS THIS CASE A CLASS ACTION LAWSUIT?
                         ❑ Yes
                            No

             VI.     HAS NOTICE OF ANY KNOWN RELATED CASE BEEN FILED?
                        E No
                        O Yes — If "yes" list all related cases by name, case number and court:



             VII.    IS JURY TRIAL DEMANDED IN COMPLAINT?
                         a Yes
                         ❑ No



     I CERTIFY that the information I have provided in this cover sheet is accurate to the best of my knowledge and belief, and
     that I have read and will comply with the requirements of Florida Rule of Judicial Administration 2.425.

     Signature s/ Carlos D Serrano       FL Bar No.: 1010125
               Attorney or party                                               (Bar number, if attorney)

             Carlos D Serrano        10/11/2018
                    (Type or print name)                                          Date




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                                                                    IN THE CIRCUIT COURT OF THE
                                                                    11 TI I JUDICIAL CIRCUIT IN AND
                                                                    FOR MIAMI-DADE COUNTY,
                                                                    FLORIDA

                  JOSE M. MEJIA,

                           Plaintiff,

                  vs.                                                         Case No.:

                  COMPREHENSIVE HEALTH SERVICES, INC,
                  a Florida Corporation

                           Defendant.


                                                        COMPLAINT

                  Plaintiff, JOSE M. MEJIA ("Plaintiff'),            hereby          sues          Defendant,

           COMPREHENSIVE HEALTH SERVICES, INC., ("Defendant"), and in support avers, as

           follows:

                                                GENERAL ALLEGATIONS

                  I.       This is an action by the Plaintiff for damages exceeding $15,000, excluding

           attorneys' fees or costs, for breach of agreement, unpaid wages, and wrongful, retaliatory

           discharge of an employee under the Fair Labor Standards Act, 29 U.S.C. §§ 201-219

           ("FLSA").

                  2        This Court has jurisdiction over Plaintiff's FLSA claims pursuant to the 29

           U.S.C. § 216.

                  3.       Plaintiff was at all times relevant to this action, and continues to be, a resident

           Miami-Dade County Florida, within the jurisdiction of this Honorable Court. Plaintiff is a




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          covered employee for purposes of the FLSA.

                 4.      Defendant, COMPREHENSIVE HEALTH SERVICES, INC., is a Florida

          for-profit Corporation having its main place of business in Homestead, Florida, where

          Plaintiff worked for Defendant, and at all times material hereto was and is engaged in interstate

          commerce.

                 5.      Venue is proper in Miami-Dade County because all of the actions that form

          the basis of this,Complaint occurred within Miami-Dade County and payment was due in

          Miami-Dade County.

                 6.      Declaratory, injunctive, legal and equitable relief sought pursuant to the laws

          set forth above together with attorney's fees, costs and damages.

                 7.      All conditions precedent for the filing of this action before this Court have been

          previously met, including the exhaustion of all pertinent administrative procedures and

          remedies.

                             FACTUAL ALLEGATIONS COMMON TO ALL COUNTS

                 8.      Plaintiff performed work for Defendant as a Transportation Specialist/Travel

          Chaperone beginning on March 1, 2018 through August 31, 2018, approximately twenty-six

          (26) weeks.

                 9.      At all times material hereto, ,Plaintiff and Defendants were engaged in a

          written employment agreement whereby Plaintiff would be employed by Defendants and that

          Plaintiff would be properly paid as provided for by, and not in violation of, the laws of the

          United States and the State of Florida.

                 10.     Additionally, throughout Plaintiff's employment, he worked numerous hours ibr

          which he received no compensation whatsoever, in violation of the laws olthe United States




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          provided to Defendant.

                 27.     Defendant has knowledge of the services performed and provided by Plaintiff

                  28.    Defendant voluntarily accepted the services performed and provided by
          Plaintiff

                 29.     Defendant unjustly benefit from the services performed and provided by

          Plaintiff by not. properly paying Plaintiff for all hours worked in violation of the laws of the

          United States and the State of Florida.

                 30.     Plaintiff seeks damages for the value of the work performed to Defendant.

                 WHEREFORE, Plaintiff seeks a judgment for unjust enrichment against

          Defendants, interest and costs, and other damages deemed just by this Honorable Court.

                                                 COUNT IV
                                     Wage & Hour Federal Statutory Violation

                 31.     Plaintiff re-adopts each and every factual allegation as stated in paragraphs 1

          through 15 of this complaint as if set out in full herein.

                 P.      This action is brought by Plaintiff to recover from Defendants unpaid overtime

          compensation, as well as an additional amount as liquidated damages, costs; and reasonable

          attorney's fees under the provisions of 29 U.S.C. §. 201 et seg., and specifically under the

          provisions of 29 U.S.C. § 207. 29 U.S.C. § 207 (a)(1) states, No employer shall employ any

          of his employees... for a work. week longer          than    40   hours   unless   such   employee

          receives compensation for his employment in excess of the hours above-specified at a: rate

          not less than one and a half times the regular rate at which he is employed."

                 33.     Jurisdiction is conferred on this Court by Title 29 U.S.C. § 216(b).

                 34.     At all times pertinent to this Complaint, Defendant operated as an organization

          which sells and/or markets its services and/or goods to customers from throughout the United




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          employment with Defendant as set forth above. As such, Plaintiff is entitled to recover double

          damages.

                 40.      Defendant never posted any notice, as required by the Fair Labor Standards Act

          and Federal Law, to inform employees of their federal rights to overtime and minimum wage

          payments.

                WHEREFORE, Plaintiffs respectfully prays for the following relief against
          Defendant:

                 A.       Adjudge and decree that Defendant has violated the FLSA and has done so

          willfully, intentionally and with reckless disregard for Plaintiff's rights;

                 B.       Award Plaintiff actual damages in the amount shown to be due for unpaid

          overtime and minimum wage compensation for hours worked in excess of forty (40) weekly,

          with interest; and

                  C.      Award Plaintiffan equal amount in double damages/liquidated damages; and

                 P.       Award Plaintiff the costs of this action, together with a reasonable attorneys'
          fees; and

                 E.       Grant. Plaintiff such additional relief as the Court deems just and proper under

          the circumstances.

                                                    COUNT V
                                              FLSA Retaliation Violation

                 41.      Plaintiff re-adopts each and every factual allegation as stated in paragraphs. 1

          through 1 5 of this complaint as if set out i.n full herein.

                 42.      29 U.S.C. § 2.15(a)(3) of the FLSA states that it is a violation to "discharge

          or in any other manner discriminate against any employee because such employee has filed any

          complaint or instituted or caused to. be instituted any proceeding under or related to this Act,

          or has testified or is about to testify in. any such proceeding, or has served or is about to serve




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          on an industry committee."

                 43.     Defendant's conduct as set forth above constitutes a violation of the

          FLSA's anti- retaliation provision.

                 44.     'the motivating factor that caused Plaintiffs adverse employment action as

          described above was Plaintiff's complaint regarding not being properly paid for all hours

          worked.

                 45.     The Defendant's conduct was in direct violation of the FLSA, and, as a

          direct result Plaintiff has been damaged.

           WHEREFORE. Plaintiff respectfully prays for the following relief against Defendant:

                 A.      Adjudge and decree that Defendant has violated the FLSA and has done so

          willfully, intentionally and with reckless disregard for Plaintiffs lights;

                 13.     Enter judgment against the Defendant for all back wages from the date of

          discharge to the present date and an equal amount a lback wages as liquidated damages.

          and;

                 C.      Enter judgment against the Defendant for all front wages. until Plaintiff

          becomes 65 years of age; and

                 D.       Enter an award against Defendant and 'award Plaintiff compensatory

          damages for mental anguish, personal suffering, and loss of enjoyment of life;

                  E.     Award Plaintiff the costs of this action. together with reasonable attorneys'

          fees; and

                 F.      Grant Plaintiff such additional relief as the Court deems just and proper

          under the circumstances.




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                                                     JURY DEMAND
                Plaintiff demands trial by jury of all issues triable as of right by jury.

                Dated October 11, 2018                       Respectfull    ubmitted,

                                                            F1 I
                                                             PETER MICHAEL HOOGERWOERD, ESQ.
                                                             Florida Bar• No.: 188239
                                                             pinh@rgpattorneys.com
                                                             Nathaly Lewis, Esq.
                                                             Florida Bar No.: 118315
                                                             nl@rgpattomeys.com
                                                             Carlos D. Serrano, Esq.
                                                             Florida Bar No.: 1010125
                                                             cs@rgpattorneys.corn
                                                             REMER & GEORGES-PIERRE, PLLC
                                                             44 West Flagler Street, Suite 2200
                                                             Miami, FL 33130
                                                             Telephone: (305) 416-5000
                                                             Facsimile: (305) 416-5005




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                                                                IN THE CIRCUIT COURT OF THE
                                                                11TH JUDICIAL CIRCUIT IN AND
                                                                FOR MIAMI-DADE COUNTY,
                                                                FLORIDA

                 JOSE M. MEJIA,

                        Plaintiff,

                 vs.                                                     Case No. 2018-034657-CA-01

                 COMPREHENSIVE HEALTH SERVICES, INC,

                        Defendant.



                                        SUMMONS IN A CIVIL CASE



          TO: COMPREH_ENSIVE HEALTH SERVICES, INC., through its Registered Agent:

                                       C T CORPORATION SYSTEM
                                       1200 SOUTH PINE ISLAND ROAD
                                       PLANTATION, FL 33324


          YOU ARE HEREBY SUMMONED and required to serve upon PLAINTIFF'S ATTORNEY

                                       PETER MICHAEL HOOGERWOERD, ESQ.
                                       REMER & GEORGES-PIERRE, PLLC.
                                       44 WEST FLAGLER STREET, SUITE 2200
                                       MIAMI, FL 33130


          an answer to the complaint which is herewith served upon you, within 20 days after service of
          this summons upon you, exclusive of the day of service. If you fail to do so, judgment by
          default will be taken against you for the relief demanded in the complaint. You must also file
          your answer with the Clerk of this Court within a reasonable period of time after service.



          CLERK                                              DATE


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                                                                IN THE CIRCUIT COURT OF THE
                                                                11TH JUDICIAL CIRCUIT IN AND
                                                                FOR MIAMI-DADE COUNTY,
                                                                FLORIDA

                 JOSE M. MEJIA,

                        Plaintiff,

                 vs.                                                     Case No. 2018-034657-CA-01

                 COMPREHENSIVE HEALTH SERVICES, INC,

                        Defendant.



                                        SUMMONS IN A CIVIL CASE



          TO: COMPREHENSIVE HEALTH SERVICES, INC., through its Registered Agent:

                                       C T CORPORATION SYSTEM
                                       1200 SOUTH PINE ISLAND ROAD
                                       PLANTATION, FL 33324


          YOU ARE HEREBY SUMMONED and required to serve upon PLAINTIFF'S ATTORNEY

                                       PETER MICHAEL HOOGERWOERD, ESQ.
                                       REMER & GEORGES-PIERRE, PLLC.
                                       44 WEST FLAGLER STREET, SUITE 2200
                                       MIAMI, FL 33130


          an answer to the complaint which is herewith served upon you, within 20 days after service of
          this summons upon you, exclusive of the day of service. If you fail to do so, judgment by
          default will be taken against you for the relief demanded in the complaint. You must also tile
          your answer with the Clerk of this Court within a reasonable period of time after service.
               Harvey Ruvin,
               Clerk of Courts                                    10/24/2018

          CLERK                                              DATE


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                                                                  IN THE CIRCUIT COURT OF THE
                                                                  11TH JUDICIAL CIRCUIT IN AND
                                                                  FOR MIAMI-DADE COUNTY,
                                                                  FLORIDA

                   JOSE M. MEDIA,

                           Plaintiff,

                   VS.                                                     Case No. 2018-034657-CA-01

                   COMPREHENSIVE HEALTH SERVICES,                         13/1
                                                                        4titv 11/1        fiL4.17      /
                           Defendant.                                    ACC       • '• .    ,,,,, •••



          I.)                                                                                  /
                                          SUMMONS IN A CIVIL CASE
            •
           'TO: COMPREHENSIVE HEALTH SERVICES, INC., through its Registered Agent:

                                         C T CORPORATION SYSTEM
                                         1200 SOUTH PINE ISLAND ROAD
                                         PLANTATION, FL 33324


            YOU ARE HEREBY SUMMONED and required to serve upon PLAINTIFF'S ATTORNEY

                                         PETER MICHAEL HOOGERWOERD, ESQ.
                                         REMER& GEORGES-PIERRE, PLLC.
                                         44 WEST FLAGLER STREET, SUITE 2200
                                         MIAMI, FL 33130


            an answer to the complaint which is herewith served upon you, within 20 days after service of
            this summons upon you, exclusive of the day of service. If you fail to do so, judgment by
            default will be taken against you for the relief demanded in the complaint. You must also file
            your answer with the Clerk of this Court within a reasonable period of time after service.
                 Harvey Ruvin,
                Clerk of Courts                                    10/24/2018

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